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F¥l.ED BY _, D.C.
IN THE UNITED STATES DISTRICT COURT

FOR THE WES'I`ERN DISTRICT OF TENNESSEE 05 JUL 28 AH 6: 55

 

WESTERN DIVISION
CLERK. U.S. Fftf>tH!th COLBT
NANCY NEAGLE, * Wt) 01 ?i~f §»,-;;~TMS
*
Plaimiff, *
*
Vs. * NO: 03~cv-2713 Ma P
*
JAMES GANNON and USA TRUCK, *
, t \._,., *
Defendants. *

 

CONSENT ORDER OF DISMISSAL WITH PREJUDICE

 

Corne now the parties, by and through their attorneys of reeord, and announce to the Court
that the matters and things heretofore in controversy between them have been settled and that this

cause should therefore be dismissed, With prejudice

I'I` IS, THEREFORE, ORDERED, ADJUDGED AND DECREED that the Plaintist case

be, and the same is hereby dismissed with prejudicel

_M ///WL___

JUDGE

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Q~..;,_,I q,.¢. l QAQ.\
DATED: d

 

 

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APPR VED OR ENTRY:

 
   

BY:
WARREN c lR R,
Attorney for Plaintiff

BY: § \'P\
CARL `"YAr\D#lzso
Attorney I Det"endants

(FILE: #03-3922)

Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 2:03-CV-027]3 was distributed by faX, mail, or direct printing on
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Honorable Sarnuel Mays
US DISTRICT COURT

